Case ot eV OO EIS Document 16-1 Filed oY Page 1 of 13

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business
experience
1980-present

clients
include:

NATHANIEL POLISH, Ph.D.
Daedalus Technology Group, Inc.

President

Daedalus Technology Group, Inc. successor to NPS ASSOCIATES NEW YORK, NY
Co-founded computer consulting firm. Employs up to twenty people as needed.

Smart Systems/Specialty Acquirer. NEW YORK, NY

Advanced Transit fare collection: Founding member of board of directors. Advisor on technical
and intellectual property matters. Developed intellectual property for the company. The company
is engaged in the development and sale of advanced fare collection systems for mass transit using
RFID technologies. 2004-present.

Skywi. FORT WORTH, TX
Wireless broadband: Founding board of directors member. Advisor on technical and intellectual
property matters. The company provides a variety of wireless broadband services to semi-rural
customers using mesh networks. 2004-2009.

Placecorp. NEW YORK, NY
Wireless text messaging system: Designed and developed a very large scale, multi-platform text
messaging system. Acted as the lead technologist for a startup. In this capacity attended many
venture capitol meetings and developed all technical sections to the business plans. The system
integrated advanced Interactive Voice Response (IVR) with email, paging, and SMS messaging.
Oversaw and planned initial development of very small paging device to me manufactured in very
high volume. 2000-2001.

Marketboy. NEW YORK, NY
Distributed market making system: Provided a range of services in the areas of product definition,
specification, and implementation strategy. Marketboy was a distributed system that allowed
prospective purchasers and vendors to make bid and ask offers for proposed transactions. 2000.

Savos. NEW YORK, NY
Telephone to streaming audio bridge: Developed, designed and deployed an industrial strength
IVR system that allows users to access streaming media via their cell phones. The system supports
up to 96 streams on a single chassis. Developed web based content management system and
interface for customizable user preferences. 2000.

deliverENow. NEW YORK, NY
Online delivery system: Developed a proof of concept prototype of online delivery system. This
consisted of a stock clerk server written for Windows CE (Clio) with a CDPD network connection. It
demonstrated how purchase and delivery information would be sent to an in-store stock person who
prepares them for pickup by a member of the deliverENow courier network. Provided strategic
technical advice. Served on board of advisors. Wrote technical specification of business and
logistical components of the system. 2000.

Togglethis. NEW YORK, NY
Animation distribtion system: Developed critical components of initial version of email-delivered
animation system. Components included MacroMedia Director Xtras as well as encryption
functions. Developed tools to distribute and manage Togglethis’s content, DTG built a custom
UNIX email list-server. This server allowed Toggle administrators to create groups, upload episodes,
and schedule the delivery of their content. Developed system architecture and language
specification for the next version of the IC Engine, which drives the characters. 1998-1999.
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Nathaniel Polish
JuniorNet. BOSTON, MA
Children’s on-line service: Designed, developed and lead the implementation of a large scale
network system for delivery of children’s entertainment and education content. Worked with the
president and other key players to fit a technology strategy to corporate goals. System is required to
serve from 200,000 to 1,000,000 subscribers and be supportable over three to five years. All project
goals met within a $1,000,000+ budget. 1997-2000.

One Click Charge. NEW YORK, NY
Provide a wide range of consulting services starting with technology evaluation for the principal
investor. Provided services in the areas of product definition, team formation and implementation
strategy. Developed significant components of a substantial Internet micropayment and
authentication system. 1998-2000.

Swatch. WEEHAWKEN, NJ
Ticketing system: Implemented a radio frequency identification (RFID) based system for providing
access to the 1998 Goodwill Games utilizing RFID tagged wristwatches. 1998-1999.

Instant Video Technologies, Inc./Burst.com SAN FRANCISCO, CA
Burstware --. Designed and developed a series of products to deliver digital video and audio
materials over wide-area internets using consumer grade computers. Products were designed to fit
within the client's existing patent portfolio. 1995-1997.

Technical evaluation --. Provided technology strategy and evaluation services and acted as
Technology Director. 1995-1997.

Assurenet. BETHESDA, MD
Internet Insurance system --. Designed and developed a system for utilization of the Internet for the
distribution and control of insurance agent support software. System can handle tens of thousands
of simultaneous users. Member of Board of Directors. 1995-2002.

New Zealand Antarctic Project (NZAP) and US Antarctic Program (USAP). ANTARCTICA
Penguin Weighbridge - Designed, developed, and deployed system for tracking the comings and
goings, weights, and Ids of Adelie penguins in their natural environment on three colonies on Ross
Island, Antarctica. Systems run continuously for months in adverse conditions. 1994-present.

Electronic Digital Documents, Inc. NEW YORK, NY
Check Image Compression system --. 1995-1999.
Technology evaluation --. 1995-1999.

American Veterinary Identification Devices, Inc. NORCO, CA
AVID reader -- Designed and developed digital computer components of radio frequency
identification system. Work involved imbedded microcontrollers and real-time digital signal
processing in very noisy environment. Designed communications protocols including encryption
and error checking schemes. Product in high volume (50,000 unit) production. 1988-1995.

Bannon & Co. BEVERLY HILLS, CA
Financial models -- Developed detailed financial model of business with 49 separate operating
entities in six separate operating companies under two holding companies. Models included
projections and actuals on a quarterly basis over ten years. 1993.

Technology valuation -- Provided technology evaluation and valuation services for private
placement memoranda for technology companies. 1993.

Amprobe Instrument, Inc. LONG ISLAND, NY
REMCON tester -- Designed and implemented product life-cycle test fixture for a new and
innovative solid state switch. Test fixture used by Underwriters Labs for approval. 1988.

Personal Computer Card Corporation NEW YORK, NY
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Nathaniel Polish

1997-2001

1996-1999

1991-1992

1989-1999

Smart Cards -- Designed smart card reader/writer system. Performed general design and
component selection and wrote software for smart card communications. System design
implemented in commercial product. 1987.

The Dun & Bradstreet Corporation NEW YORK, NY
Voice editing systems -- Designed and built all parts of four generations of interactive voice editing
systems. Editing systems produce output used in extensive, high quality speech synthesis system
that is part of larger information delivery system. The systems are built on networks of computers
in a variety of programming languages and systems. The system involved interactive user
interfaces, screen windows, signal processing, and voice file systems. 1982-1991.

Co-Founder, Director and CTO
I-RECALL, INC. NEW YORK, NY

Co-Founder, Director, CTO & Principal Product Designer

SOLILOQUY, INC. NEW YORK, NY
Natural language interfaces to databases: Co-founded in 1996 a company to provide next
generation interfaces to structured databases. Developed prototype system using speech recognition
and speech synthesis to provide access to music and ecommerce databases. Raised $1.5 million in
angel investments. Company has raised a total of $8 million through a variety of institutional and
individual investors. Hired replacement CTO and exited company in 1999.

President & Principal Product Designer
SIMPLICITY COMPUTING, INC. NEW YORK, NY
Co-founded in 1991 a computer peripherals manufacturing company concentrating on portable
products with international mass-market appeal. Main product: Simplicity Portable Drive, an
IBMPC parallel port connected, portable disk storage system. Marketed domestically and in 25+
countries. Products marketed direct via telemarketers, trade shows, sales reps, and national
advertising. Products distributed through dealers, distributors and national catalog houses.
Company employed 10 people.
*Wrote business plan and raised $350,000 startup funding
eEstablished marketing plans
eDirected marketing of products in trade shows, national advertisements and focus groups
eManaged employees
«Designed hardware and software for products
eSupervised hardware & software implementation teams. First units shipped less than six months
from start of project.
*Supervised all aspects of manufacturing and testing process. Contracted with four
manufacturing facilities and many suppliers for production.
eSupervised and established call-in customer support services

President & CEO

MEASUREMENT & CONTROL PRODUCTS, INC. NEW YORK, NY
Founded in August 1989 an electronic products development company. M&CP designs, develops,
markets and sells its own products through retail, wholesale and catalog channels domestically and
abroad. All manufacturing is contracted. Company was profitable in its first year of operation.
Flagship product:

BitView -- Hand held RS-232 data communications diagnostic monitor. Invented, developed and
produced hardware and software. Developed and oversaw implementation of marketing strategies,
budgets, and business plans. Product currently in third production run.
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Nathaniel Polish
education
1980-1993 COLUMBIA UNIVERSITY NEW YORK, NY

teaching
positions
1997

1989

1984-1985

publications
and patents
2009

2009

2002

2002

1999

1993

1991

1988

1987

1983

Ph.D. in Computer Science, May 1993,

Thesis: Mixed Distance Measures for the Optimization of Concatenative Vocabularies in Speech Synthesis.
MPhil in Computer Science, December 1989,

MS in Computer Science, December 1987.

BA in Physics, Columbia College, May 1984.

COLUMBIA UNIVERSITY NEW YORK, NY
Adjunct Professor, Computer Science.
Advanced undergraduate course: Artificial Intelligence.

COLUMBIA UNIVERSITY NEW YORK, NY
Graduate Lecturer, Computer Science.

Advanced undergraduate course: Software Design. Taught 68 advanced undergraduates. Supervised
two teaching assistants. Students implemented full spreadsheet application under UNIX.

CITY UNIVERSITY OF NEW YORK NEW YORK, NY
Adjunct Professor, Experimental Psychology.
Graduate-level course: Computer Methods in Experimental Psychology.

Silbernagl, Martin and Polish, Nathaniel. Learning Fare Collection System for Mass Transit. United States
Patent 7,568,617. August 4, 2009.

Silbernagl, Martin and Polish, Nathaniel. Learning Fare Collection System for Mass Transit. United States
Patent 7,566,003. July 28, 2009.

Beigel, Michael L.; Polish, Nathaniel; Frank, Steven R.;Malm, Robert E. Electronic identification system with
improved sensitivity. United States Patent 6,472,975. October 29, 2002.

Nathaniel Polish. Bilateral speech system. Speech dialogs for database access. United States Patent
6,430,531. August 6, 2002.

Nathaniel Polish. System and method for distributing and managing digital video information in a video
distribution network. United States Patent 5,963,202. October 5, 1999.

Michael L. Beigel, Nathaniel Polish and Robert E. Malm. Multi-Mode Identification System.
Fundamental RFID technology. United States Patent 5,235,326. August 10, 1993.

Nathaniel Polish. Mixed Distance Measures for Synthetic Speech Evaluation. In Proceedings of
ICASSP-91, Toronto, Canada, 1991.

Nathaniel Polish. A Distributed Signal Processing Facility for Speech Research. In Proceedings of
AVIOS88, San Francisco, CA. October 4-6 1988.

Nathaniel Polish. Mixed Distance Measures for Optimizing Concatenative Vocabularies for Speech
Synthesis: A Thesis Proposal. Columbia University Department of Computer Science technical
report number CUCS-310-87, 1987.

M. Morris, N. Polish, B. Zuckerman, and N. Kaifu. The Temperature of Molecular Gas in the Galactic
Center Region. The Astronomical Journal, 88(8):1228-1235, August 1983.
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Nathaniel Polish
research
interests Computer Speech, Distributed Systems, Interactive Environments.

professional
societies

other
interests

grants

1982-present

1994-present

tools

Software Engineering, Systems Engineering, Technology Policy.
Knowledge-Based Approaches to Signal Processing.
Computational Physics, Non-Linear Dynamics.

International Society for Electrical and Electronics Engineers (IEEE),
Association of Computing Machinery (ACM),
American Association for the Advancement of Science (AAAS).

Foreign Policy, Political Science, Long Distance Bicycling, United States Space Program.
AT&T Special Projects Grant of $25,000 for synthetic speech, 1986.

Financial support for Ph.D. work was provided by the New York State Science and
Technology Foundation Center for Advanced Technology in Computers and
Information Systems at Columbia University.

Santa Fe Institute Complex Systems Summer School, 2003. Month-long workshop in
agent-based models, non-linear systems, and complexity.

Technology development projects

Some technology development projects have included:

Wildlife Tracking Systems -- Implemented a remote monitoring system to track and weigh Adelie
penguins on Ross Island, Antarctica. System was debugged on-site and made to function in
adverse environmental circumstances. 1994-1997.

Internet Systems -- Implemented a LINUX Internet server with FTP and gopher services. Installed
and Internet client for IBM/PC platform. 1994-1995.

Image Compression Technology -- Developed proof-of-concept system for a system to compress
images of checks to very small file size. 1994.

Biomedical Systems — Implemented a large biomedical system used in patient diagnostics.
Provided all necessary materials for Food and Drug Administration compliance. 1992-1993.

Synthetic Speech Systems -- Implemented and supported several generations of synthetic speech
systems for commercial as well as research purposes. 1985-1999.

Graphics -- Developed high-speed drivers for several graphical devices and evaluated their
applicability for interactive uses. Devices included: Vectrix, RAMTEK, Apple Lisa, and IBM
Enhanced Graphic Adapter. 1983-1987.

Voice Boards -- Specified function requirements for several generations of high quality voice boards
for Q-bus (PDP-11), Apple, MultiBus, and IBMPC bus. Developed high-speed drivers for each of
the boards. 1982-1986.

Video Disk and Touch Screens -- Developed experimental interactive system utilizing computer
controlled video disks and touch screens. 1982,

Intellectual property projects
A separate document detailing intellectual property projects is available on request.

Languages commonly used:

Pascal 1980-1988

C 1985-present.

Other languages used: C++, Lisp, Java, and FORTRAN.
Assembler:

Intel 8048, 8051, 8088-pentium

Motorola 680xx (on Sun workstations)

TI 320xx signal processors

Zilog Z8, Z80
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Nathaniel Polish
Protocols include:
TCP/IP, UDP, RPC and NFS
Operating systems commonly used: UNIX, MSDOS, Windows and p-systerm.
In circuit emulators.
Database tools.

Academic and business references available upon request.
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beech

TECHNOLOGY GROUP, INC.

Nathaniel Polish, Ph.D. ¢ Daedalus Technology Group, Inc.
Summary of Experience in Intellectual Property Matters

Date Case and Jurisdiction Work Product | Counsel, Nature of Case, and Additional Notes

08/11- | Apple Inc and Next Software, Inc. v. Motorola, | Expert Report Retained by Weil, Gotshal & Manges LLP (contacts: Kevin Kudlac

present | /nc. and Motorola Mobility, Inc. and Elizabeth Weiswasser), representing Apple, Inc. This is a patent
Case No. 10-CV-662(BBC) dispute. The case involves technology for the interface of DSPs in
In The United States District Court for The cell phones. I am handling both infringement as well as validity.

Western District of Wisconsin

06/11- | Creative Kingdoms LLC and Medici Portfolio LLC | Expert Report; Retained by Cooley LLP (contacts: Tim Teter and Matthew
present | v. Nintendo Co. Ltd. deposition Brigham), representing Nintendo Co. Ltd. This is a patent dispute.
Certain video game systems and Wireless The case involves technology used in wireless, motion sensing

controllers and Components thereof. United States controllers. I am handling invalidity. The case is ongoing.
International Trade Commission Investigation No.

337-TA-770

O2/11- | Wiav Solutions LLC v. Motorola Mobility, Inc, | Expert Report; Retained by Finnegan, Henderson, Farabow, Garrett & Dunner LLP

11/11 Nokia Corportation, Nokia, Inc, Sony Ericsson | deposition (contacts: Kenie Ho and Christopher Schultz), representing Wiav
Mobile Solutions LLC. This is a patent dispute. The case involves
Civil Action No: 3:09-cv-447-LO. technology for speech codecs used in GSM cell phones. I handled
In The United States District Court for The the infringement side of the case. This case settled.

Eastern District of Virginia

08/10- | Apple Inc. v. Nokia Corporation and High Tech | Expert Reports; Retained by Kirkland & Ellis LLP (contacts: Mare Sernel and Eric

4/11 Computer Corp. (HTC). Certain Personal Data | depositions; hayes), representing Apple Inc. This is a patent dispute. The case
and Mobile Communications Devices and Testimony at involves technology for the interface of DSPs in cell phones. I
Related Software. United States International | hearing. handled both infringement as well as validity.
Trade Commission Investigation No, 337-TA-
710.
05/09- | Nuance Communications Inc. et al v. Tellme Expert Report Retained by McKool Smith (contacts: Luke F. McLeroy), representing
05/10 Networks Inc. Nuance Communications, This is a patent dispute. The technology

Case Number: 1:2006cv00105 involved techniques for using speech recognition in telephone

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In The United States District Court for The
District of Delaware

information systems. The case ended in summary judgment for the
defendant.

02/10- | Motorola Inc. v. Research Motion Limited et al Expert Report Retained by Ropes & Gray (contacts: Paul M. Schoenhard and
06/10 ‘| Certain wireless communication server system Steven Pepe), representing Motorola Inc. This is a patent dispute.
software, wireless handheld devices and battery The case involves technology used in pagers and cellphones as well
packs. United States International Trade as their servers. The case settled.
Commission Investigation No. 337-TA-706
04/10- | Illinois Computer Research LLC v. Harpo Expert Report; Retained by Jackson Walker L.L.P. (contacts: Michael Locklar and
6/10 Productions, Inc et al deposition Charles Babcock), representing Harpo Productions, Inc. This is a
Case Number: 1:2008cv07322 patent dispute. The case involves technology for display of books
In The United States District Court for The on a website. This case settled.
Northern District of Illinois Eastern Division
08/09- | BALTHASER ONLINE, INC, v. NETWORK Expert Report Retained by Dickstein Shaprio LLP (contacts: Alfred R. Fabricant,
10/10 SOLUTIONS, LLC Lawrence C. Drucker, Bryan N. Matteo, Robert Gingher and Cindy
Civil Action No. 2:08-cv-430 Lang), representing Balthaser Online, Inc. This is a patent dispute.
United States District Court Eastern District of The case involves technology for the display of rich media
Texas Marshall Division applications on a web site. This case settled.
05/09- | Nuance Communications Inc. et al v. Tellme Expert Report Retained by McKool Smith (contacts: Luke F. McLeroy), representing
05/10 Networks Inc. Nuance Communications. This is a patent dispute. The technology
Case Number: 1:2006cv00105 involved techniques for using speech recognition in telephone
In The United States District Court for The information systems. The case ended in summary judgment for the
District of Delaware defendant.
12/08- | Texas MP3 Technologies, Ltd. v. Samsung Expert Report Retained by Baker Botts LLP (contacts: Michael Hawes),
03/09 Electronics Co., Lid, et al. representing Samsung Electronics. This was a patent dispute
Civil Action No. 2:07-CV-0052 (CE) involving portable MP3 players. The case settled.
United States District Court for the Eastern
District of Texas
10/08 - | Thomson Reuters (Scientific) Inc. v. David A. Expert Report Retained by Edwards Angell Palmer & Dodge LLP(contacts: Glenn
09/09 Von Moll, Comptroller of the Commonwealth of Pudelka, Barry Kramer), representing Thomas Reuters (Scientific)
Virginia and George Mason University Inc. Contracts dispute centered around allegations of reverse
Civil Action No. CL2008-17114 engineering of software. The case ended in summary judgment.
Circuit Court of Fairfax County Virginia
12/08 - | TruePosition Inc. v. Andrew Corp, C.A. Declaration; Retained by Kirkland & Ellis LLP (contact: Avinash Lele),
12/09 Case No. 05-0747-SLR (D. Del) Expert Report representing Andrew Corp, C.A. Patent infringement case

U.S. District Court for the District of Delaware

concerning technology for determining location of a cell phone

Nathaniel Polish, Ph.D. -Summary of Experience in Intellectual Property Matters, page 2

Case 5:12-cv-00630-LHK Document 16-1 Filed 02/08/12 Page 10 of 13

using information from several cell phone towers. I provided an
analysis of a workaround approach.

10/08 - | RealTime Data LLC. v. Packeteer Inc. Expert Report, Retained by Ropes & Gray LLP(contact: Anthony Pastor),
1/10 Case No. 6:2008cv00144 Depositions, representing RealTime Data, LLC. Patent infringement case
U.S. District Court for the Eastern District of Trial prep. concerning data compression, storage, and transmission. The case
Texas settled on first day of trial.
04/08 — | International Business Machines Corporation — | Expert Reports, Retained by Cadwalader Wickersham & Taft LLP (contact John
12/08 v. Asustek Computer, Inc. Certain Computer Declarations, Moehringer, Christopher Hughes) representing IBM in this matter.
Products, Computer Components and Products | Depositions, This was an US ITC investigation regarding infringement of a
contain Same. United States International Testimony at number of IBM patents by computers produced and sold by
Trade Commission Investigation No. 337-TA- | Hearing Asustek. The technology involved computer control of cooling
628 systems for computers. I was involved with infringement as well as
validity issues The determination is pending.
3/07-— | National Music Publishers’ Association et al. v. Retained by Gibson Dunn & Crutcher LLP, representing National
1/09 XM Satellite Radio Inc. Civil Action 06-CV- Music Publishers’ Association. Copyright dispute concerning the
3733(LAK) in U.S. District Court for the impact of various XM Satellite Radio products. I have provided an
Southern District of New York analysis of source code and functionality of several XM devices.
2006 Telefonaktiebolaget LM Ericsson et al. v. Expert Reports Retained by Kirkland & Ellis LLP (contacts: Bao Nguyen, Adam
Samsung Electronics Company Ltd. and Depositions | Gill, Michael Pieja), representing Samsung in several patent
Investigation No. 337-TA-577 infringement claims brought by Ericsson. Claims involved
U.S. International Trade Commission technologies for messaging, speech encoding, and speech recording
within various GSM cell phones. The case settled just prior to
hearing.
2/06 Board of Regents of the University of Texas v. | Markman Retained by Quinn Emanuel Urquhart Oliver & Hedges LLP
Beng America Corp et al. Hearing (contacts: Evette Pennypacker, Kevin Johnson), representing Benq
Civil Action No. A:05CA181 Testimony; America et al. Patent infringement. For a Markman (claim
U.S. District Court for the Western District of || Expert Reports; construction) hearing, prepared and presented a technology tutorial
Texas Deposition and testified before a special master. Prepared reports and gave
deposition regarding invalidity and inoperability technology in the
patent at issue. Claim construction hearing led to summary
judgment in Beng America’s favor.
7/05 - | Encyclopedia Britannica Inc. v. Alpine Expert Report; Retained by Baker Botts LLP (contact: David Wille), representing
2/06 Electronics of America Inc. et al. Deposition Encyclopedia Britannica, Inc. Patent infringement. Prepared report
Civil Action No. 05-359 on the definiteness of certain claim terms, and was deposed on this
U.S. District Court for the Western District of matter. This case is ongoing but inactive.
Texas
5/05 - | Atronic International GMBH y. SAI Expert Report; Retained by Ford Marrin Esposito Witmeyer & Gleser LLP

Nathaniel Polish, Ph.D. — Summary of Experience in Intellectual Property Matters, page 3

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9/05 Semispecialists of America Inc. Deposition (contact: Edward M. Pinter), representing Atronic International.
Case No. 03-CV-4892 (TCP) (MLO) Contracts dispute. I have acted primarily to rebut another witness
U.S. District Court for the Eastern District of regarding what would have been reasonable behavior for a
New York customer of an electronic parts supplier. Case settled.
5/05 - | Advanced Analytics Inc v. Citigroup Global Declarations and | Retained by Cleary Gottlieb Steen & Hamilton LLP (contacts:
present | Markets Inc. Expert Reports; Davida Williams, Chris Moore), representing Citigroup Global
U.S. District Court for the Southern District of | Deposition Markets, Inc. Theft of trade secrets. I have been involved in
New York software analysis in this case. The case involved software used to
Case No. 04 Civil 3531 (LTS) price complex financial instruments. Refuting the claims required
software analysis as well as statistical analysis of certain elements
of the systems involved. Case pending.
2/05 - Tivo Inc. v. Echostar Communications Expert Report; Retained by Morrison & Foerster (contact: Karl Kramer),
3/06 Corporation Deposition; representing Echostar. This case involved digital video recorder
Case No. 2-04cv01 DF Trial Testimony | (DVR) technology. My work focused on the invalidity of the Tivo
U.S. District Court for the Eastern District of patent. I found many pieces of prior art including complete systems
Texas that were presented at trial. Tivo prevailed at trial. Most of the
claims were subsequently found invalid on re-exam. The case has
been the subject of many appeals which are ongoing.
12/04 - | Foundry Networks Inc. v. Lucent Technologies | Expert Reports Retained by Kirkland & Ellis LLP (contacts: Jenny Lee, Jeanne
5/06 Inc. Heffernan), representing Lucent Technologies. I advised on
Case No. 2:04-CV-40 (TJW) (E.D. Tex.) infringement as well as validity of U.S. Patent 5,649,131. In
U.S. District Court for the Eastern District of addition to generating several reports, and I supported the drafting
Texas of motions and declarations. The case settled shortly before trial.
10/07- | Lucent, Alcatel-Lucent, and Multimedia Patent | Expert Reports; Retained by Kirkland & Ellis LLP (representing Lucent
5/08 Trust v. Microsoft Depositions; Technologies) (contacts: Robert Appleby, John Desmarais) and
Case no. 06-CV- 0684-H (LAB) Trial Testimony | Baker Botts LLP (representing Alcatel-Lucent). I advised on
U.S. District Court for the Southern District of infringement as well as validity of U.S. Patents 5,838,319 and
California 5,977,971. Gave trial testimony regarding invalidity of the ’971
patent: jury found the patent was invalid.
6/06- Lucent v. Gateway, Microsoft, Dell Expert Reports; Retained by Kirkland & Ellis LLP representing Lucent
2/07 Case no. 02-CV-2060-B (LAB) Depositions; Technologies(contacts: Robert Appleby, John Desmarais). I
Case no. 03-CV-0699-B (LAB) Trial Testimony worked on the infringement of Patents 5,341,457 and 5,627,938 as
Case no. 03-CV-1108-B (LAB) well as 5,649,131. I advised on infringement as well as validity of
U.S. District Court for the Southern District of these patents. At trial I testified to regarding infringement of the
California *457, 938, and ’080 patents. This matter concluded with a
successful verdict and an award to Lucent of $1.5 billion.
5/04- | Dolby Laboratories Inc. v. Lucent Technologies | Expert Report Retained by Kirkland & Ellis LLP (contact: Alan Kellman),

Nathaniel Polish, Ph.D. - Summary of Experience in Intellectual Property Matters, page 4

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3/05 Inc. representing Lucent Technologies. This case involved infringement
U.S. District Court for the Northern District of of a number of Lucent’s patents. 5,341,457 and 5,627,938 by
California Dolby’s AC3 codec. The case settled.

Case No. C 01-20709 JF (RS)

7/04 - Voice Capture Inc. v. Intel Corporation, Expert Report Retained by Gray Cary (contact: Edward Sikorsky), representing

1/05 Dialogic Corporation, and Nuance Intel Corporation. The case involved Voice Capture’s allegation of
Communications Inc. patent infringement by Intel in the area of interactive voice response
No. 4:04-cv-40340 systems. In producing an invalidity report on the patent, I analyzed
U.S. District Court for the Southern District of the patent and prior art in great detail. I also provided an expert
lowa report on invalidity and an analysis of a rebuttal report. The case

settled.

3/03 Agere Systems Inc. v. Broadcom Corporation Expert Reports Retained by Kirkland & Ellis LLP (contacts: Bryan Hales, Edward
Civil Action No. 03-3138 Runyan). The case involved Agere’s allegation of patent
U.S. District Court for the Eastern District of infringement by Broadcom in the area of speech compression used
Pennsylvania in various Broadcom telephone products. I analyzed the operation

of a speech codec used in digital telephones and worked with
counsel and other experts to prepare reports. The case settled.

10/01 AT&T Corp., v. Microsoft Corporation Expert Reports; Retained by Cooley Godward Kronish LLP (contacts: Frank
Civil Action No. 01 CV 4872 (WHP) Deposition; Pietrantonio, Stephen Neal), representing AT&T. The case involved
U.S. District Court for the Southern District of | Trial Testimony | AT&T’s allegation of patent infringement by Microsoft in the area
New York of speech compression. I analyzed the operation of three speech

codecs and worked with counsel and other experts to prepare
reports I was deposed and gave testimony at trial. After the
presentation of our case, the matter settled; details of the settlement
are confidential. Elements of this case reached the U.S. Supreme
Court.

1/98 - System Management Arts Inc.(SMARTS) v. Expert Reports; Initially retained by Kramer Levin Naftalis & Frankel LLP (contact:

1/01 Avesta Technologies Inc. and David Zager Deposition Thomas H. Moreland), representing SMARTS. In early 2000
97 Civil 8101 (RWS) SMARTS retained Proskauer Rose LLP (contact: Kenneth
U.S. District Court for the Southern District of Rubenstein) The case involved a SMARTS patent in the area of
New York automatic diagnostics of faults in communications networks. I

analyzed an Avesta system with similar claimed capabilities, and
produced an expert report. I also gave a deposition, and
participated extensively in technological analysis and strategic
discussions of all aspects of the case. The case settled.

2000 Data Systems Analysis Inc., v. The Netplex Expert Reports; Retained by Saul Ewing LLP (contact: Michael Lampert),

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Group Inc., Technology Development Systems | Deposition representing Netplex. Data Systems Analysis (DSA) had brought

Inc., and Xcellenet Inc. suit against Netplex in a contract matter regarding software claimed

Civil Action No. 97-4652 (JBS-RBK) by both companies. I was retained to analyze the disputed software

U.S. District Court for the District of New and determine a method for computing damages. My expert report

Jersey found that “functionality” and “effort required to create” were both
better metrics than “number of lines of software”, the measurement
proposed by DSA. I also was deposed for several days in this case,
provided analysis of other expert reports, and assisted in preparing
counsel for depositions. The case was settled.

1997 Knowledge Based Technologies Inc. v. Expert Reports; Retained by Morris, Nichols, Arsht & Tunnell LLP (contact: Karen
International Business Machines Corp. Deposition Jacobs Louden), representing Knowledge Based Technologies.

Case No. 96-9461 (JSR)
U.S. District Court for the Southern District of
New York

Contract dispute regarding the application of fuzzy logic
techniques. I generated an expert report that analyzed several forms
of fuzzy logic software to determine whether the software was
independently developed. I also was deposed in this case. The case
settled.

Nathaniel Polish, Ph.D. -Summary of Experience in Intellectual Property Matters, page 6

